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June 21, 2017

VIA E-FILE

Honorable Louis Stanton, U.S.D.J.
U.S. District Court of New York
United States Courthouse

500 Pearl Street,

New York, NY 10007

Re: Michael Dardashtian, et al. v. David Gitman, et al.
17-cv-4327

Dear Judge Stanton:

Kindly be advised that the undersigned firm represents the Plaintiffs, Michael
Dardashtian (“Plaintiff Dardashtian”), individually and on behalf of Cooper Square Ventures,
LLC @CSV”), NDAP, LLC (NDAP”) and ChannelReply, LLC (“Plaintiff Companies”) in
connection with the above-referenced matter. | write in connection with Plaintiff's Reply Papers,
which we intend to submit shortly via ECF.

As the Court is aware, Defendants previously sought an extension from 12:00 p.m. to
2:00p.m. to files their Opposition Papers. We consented to such extension and Defendants filed
their Opposition Papers at 3:00 p.m. Notwithstanding, Defense counsel agreed to provide us with
the same courtesy.

While the undersigned will not need until 3:00 p.m. and most likely by 1:00 p.m. to file
our Reply Papers, Plaintiffs respectfully request an extension as set forth above, which is on the
prior consent of the Defendants based on the communication referenced above.

Thank you for Your Honor’s consideration of the foregoing.

   

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Lindsay Ditlow, Esq. (via ECF)
Brian Cousin, Esq. (via ECF)
Edward P. Gilbert, Esq. (via ECF)

 
